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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


 WILLIAM W. RAMSEY, JR.,       )           CIVIL NO. 20-00215 JMS-KJM
                               )
           Plaintiff,          )           ORDER ADOPTING AS MODIFIED
      vs.                      )           MAGISTRATE JUDGE’S FINDINGS
                               )           AND RECOMMENDATION TO DENY
 STATE OF HAWAII,              )           PLAINTIFF’S MOTION FOR ENTRY
                               )           OF DEFAULT JUDGMENT
           Defendant.          )
 _____________________________ )

  ORDER ADOPTING AS MODIFIED MAGISTRATE JUDGE’S FINDINGS
   AND RECOMMENDATION TO DENY PLAINTIFF’S MOTION FOR
               ENTRY OF DEFAULT JUDGMENT

              A Findings and Recommendation (“F&R”) having been filed and

 served on September 2, 2020, ECF No. 17, and no objections having been filed by

 any party,

              IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title

 28, United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the “Findings

 and Recommendation To Deny Plaintiff’s Motion for Entry of Default Judgment”

 is adopted as the opinion and order of this Court, as modified herein.

              The F&R recommended denying Plaintiff’s Motion for Entry of

 Default Judgment in part because Plaintiff had not first sought entry of default

 under Federal Rule of Civil Procedure 55(a), and because it appeared that the
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 Complaint had not been properly served. ECF No. 17 at PageID #55-56. Thus,

 the F&R recommended that the denial be without prejudice to Plaintiff being

 allowed to file a new motion for entry of default judgment that complies with Rule

 55. See id. at PageID #56. But, in the meantime, Defendant has appeared and is

 defending itself—it has filed a Motion to Dismiss, which is pending in this court.

 See ECF No. 18. There is thus no basis for a new motion for entry of default

 judgment. Therefore, the F&R is MODIFIED in that the denial of Plaintiff’s

 Motion for Entry of Default Judgment is WITH PREJUDICE (not without

 prejudice).

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, September 25, 2020.


                                                     /s/ J. Michael Seabright
                                                    J. Michael Seabright
                                                    Chief United States District Judge




 Ramsey v. State of Hawaii, Civ. No. 20-00215 JMS-KJM, Order Adopting as Modified
 Magistrate Judge’s Findings and Recommendation to Deny Plaintiff’s Motion for Entry of
 Default Judgment




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